
CANADY, C.J.,
concurring in part and dissenting in part.
I concur in the approval of the referee’s recommendation that the respondent be found guilty, but I dissent from the sanction imposed by the Court.
In addition to other misconduct, the respondent was guilty of threatening to present criminal charges solely to obtain an advantage in a civil matter, conduct which is expressly prohibited by Rule Regulating the Florida Bar 4-3.4(g). Such misconduct by its very nature causes harm to the legal system. The respondent was chargeable with knowledge of the rule prohibiting this misconduct. Florida Standard for Imposing Lawyer Sanctions 7.2 provides that “[s]uspension is appropriate when a lawyer knowingly engages in conduct that is a violation of a duty owed as a professional and causes injury or potential injury to ... the legal system.” Given all of the relevant circumstances, the misconduct here warrants a ninety-day suspension.
